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a/ 74 05/14/03: ‘Addressing Death in Wrestling'

Hello warriors. Again, great emails..,

j On the road, so a short, recreational post today getting at a bit of ‘rassling news that's

ie a Well now, it’s getting harder to be surprised. “Who's next?” has less to do with that
Piety UNprincipled sellout Goldberg the WWE is hanging its pragmatic hopes on than it
does with who's next in taking their last breath.

[ got a ton of requests to comment on the deaths of Elizabeth and Curt Henning. Both times I
heard the news I did some looking around. Lot of sorry, phony despondency is what I found.
Iron stomach that I have, by the time I quit scouting the polluted wrestling-related internet, it
had me nauseous, There are parts of the internet that really are just a gob of unctuous
‘patheticness, All the little gossipy sités and their sprinkly, irritating pop-up adds -- To laugh is
to puke, Do these people have any serious interests? Like, having a life outside their 100 sq. ft
bedrooms?

The'best worm-eaten line I read was something Road Warrior Animal said, Looking forward
to his 4th or Sth serving of McMahon poop-pie after toughly. swearing each successive time
Hawk and he would never be back, Animal said he was “glad morals are coming back into the
business.” Earth to Ani...ah, forget it. Whoever is looking for a serious, Starship Enterprise
hook-up needs to get with Animal because he’s got to be smoking or injecting the best stuff
there is -- that line is simply from another friggin’ planet,

Morals are coming back? He must be confusing PAX with WWE to ease his shame about
bowing and bending over at the altar of McMahon...again...again...and again. Hey Joe, don't
feel too bad, it's only begging. Since when were morals synonymous with born-agains. (Hawk!
and him? born-again) behaving like hypocrites? Here we'go one more time — a born-again's
piety being used as an excuse instead of an empowerment. Born-agains who con't should be
outraged. Where's Pastor Michaels when you need him?-Oh, that's right he's one of their ilk,
too. [mean, even Bret Hart, a guy who recently paid a vety'close to visit to the Almighty,
doesn't believe Michaels has truly seen the light, ergo, doesn't believe Michaels — whatmore
evidence do we need to have? If Bret thinks so, who are we to disagree? That would be like
arguing with Ged, wouldn't it? You experts figure it out...

A few words about the death of Elizabeth

I knew the Elizabeth the whole world knew — she was Randy's wife. Few talent — if that many
— ever got closer to her than that while they were married. Randy was very protective of her
and did not allow a line leading to over-friendly contact. And, believe me, the lines Randy
drew never had slack in them. He knew full-well too many talent in the business had no
scruples so he never subjected his beloved to the chance. Let there be no mistake -- wound up
as the “Macho” element of Randy's life was, when it came to his marriage he was disciplined

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and controlled, had class and respected it traditionally.

Tadmired the way he handled their relationship and found it really heartwarming. In fact, that
genuineness of their relationship is what made the work-ed parts work so well.

T spent a lot of time with Randy during the time of their separation and ultimately their
divorce. Most of it in the hallways and locker rooms of coliseums; we were on the road,
working our program together. Randy is meticulously tough but it really tested his spirit.

Elizabeth was at WCW in 1998 when I was there. I found out enough to know this: The best
parts of her life were when she was with Randy and her regret that that was no more would
never leave her. Hogan and his wife (and McMahon) can be thanked, and cursed, for that;

planting ideas in her head that she was missing out on some magnificent untamed life
adventure,

A little life advice: The grass is more times than not never greener on the other side. And it will
be too late to jump back once you realize it was just a field full of weeds.

My thoughts go out to Randy, a first class act with a huge heart - one that few ever got to see,
Never will I forget that I did. There are some life experiences we can move beyond but never
truly get over, For Randy and Elizabeth, I suspect, being married to one another was an
instance falling into that category.

Thinking positive for you Randy -- Stay Strong. Time heals all wounds.

That said specifically about the death of Elizabeth and my condolences extended to Randy -- I

just can’t find it in myself to have any sympathy for adults who are irresponsible, stupid or
afraid to grow up.

It hurts me more that young kids, who have not yet had the chance in life to test their own free
‘will, go to bed hungry or are subject to some form of adult abuse. I don‘t apologize for how
my mind works on this issue. Neither dol care who I offend. Adult people wanting to choose
actions that may lead to their own death, let ‘em.

I spoke at length some time ago about DRUGS, GROWING UP, and CONSEQUENCES when
Davey Boy died. Controversial to some, clear in their own right, these posts are great reads if
you have the courage.

BIW, did they ever solve that murder mystery surrounding Davey’s Death?

Luger. Sorry and sad all over. There is nothing more inexcusable and unmanly than beating a
woman. Between Elizabeth and he things were not good. Elizabeth now dead, things for Luger
really look bad.

Has anyone checked to see if there is a blinking neon 24 hour pharmacy sign attached to the

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side of his house? Don't, It's no use. ALL the drugs were his and we ALL know it Luger is
walking bowlegged in "NO MAN" land. A land where his balls are shrunken up inside him
and his skull is going Cro-Magnon. An existence where a grown adult man can find no self-
worth in himself beyond his pills and his physique. A place where skinny people
hallucinogenically resemble hypodermic needles filled with GH and fat people become the
next high calorie meal. A place...ahem -- sorry about that, having a UW moment.

Seriously folks, making the personal choice to remain on anabolics et al without the goal of
being in the ring or using the physique to succeed is patent Freudian lunacy. Taking the juice
just to be the big guy at the gym who looks super in the tight shirt is very, very shallow.

Christ man, people have got to get on board with growing up here -- what the hell is going on
with people's thinking?

[just can't comprehend how men who make careers of their physical prowess get to a place
where they think like that...

If I continued to have to have an everyday physique like that of my ring physique just to
maintain self-esteem, I'd be a pathetic human. One who should only be so lucky to find
himself dead in a dirty gutter so as to put an end to the misery of waking up everyday.

[DID IT. I don't have to prove my physicality to anybody. I bested them all. Luger doesn't
have anything to prove anymore, HE DID IT. He built one of the best physiques the SE
industry ever saw. He succeeded in the business. Now move on.

used to laugh at bodybuilders I knew years ago who ridiculed Arnold when he first showed
up in his movies physically smaller than his champion bodybuilding days. It was funny how
they couldn't see that he used his bodybuilding success to succeed at other things. Like,
because his physique wasn't competition ready he was failing somehow. I can still go out to
Gold's Gym in Santa Monica and find guys that were out there 20 years ago still hanging out
in the gym all day long and don't make a dime off it, and now they've convinced themselves
there's nothing else they can do. So what, they look great in their gym clothes! We don't need
more 40-50-60 year old fruitcakes running around in spandex -- without goals, without
purpose -- without a lifel

Today, not out in the ring, if some always-in-a-size-small-tanktop-legless-moron wants to
stupidly challenge me about my lighter bodyweight of 235-45 compared to my 275-85 Ib ready
to hit the ring physique, I get real close and let them know very quickly "if what UW did is the
standard you are judging by, don't forget I'm the one that fing set it. Until you reach it, and
from the look of things we can all tell you never will, I strongly suggest you scurry off and
pester someone who gives a rat's ass what you think -- you understand?"

The point isn't that you surrender or retire your overdrive gear, The self-discipline is always
there to make all the punks look like anorexics. It just means my manliness doesn't come from
maintaining an in-the-ring physique.

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